Case 2:04-cV-02353-.]P|\/|-de Document 103 Filed 06/30/05 Page 1 of 3 Page|D 103

IN THE UNITED STATES DISTRICT COURT D-'»`-
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUH 30
WESTERN DIVISION P ?= h l

n"i,\ql_$'/K`; 11 ."'\rv n h
fmc art »""."‘
MrD-SOUTH CHAPTER OF PARALYZED / " '¢
VETERANS OF AMERICA, KEITH MORRIS,
CARL FLEMONS, TOM HAFFORD, and

LARRY HALE,

 

Plaintiffs,

v. Civil Action No.: 04-CV-23 53 Ml/V
CITY OF MEMPHIS, TENNESSEE;
SHELBY COUNTY, TENNESSEE, and
HOOPS, L.P.,
Defendants,
NEW MEMPHIS ARENA PUBLIC BUILDING
AUTHORITY OF MEMPHIS & SHELBY
COUNTY,
Defendant and Third-Party Plaintiff,
V.

ELLERBE BECKET, INC.,

Third-Party Defendant

 

ORDER GRANTING MOTION FOR EXTENSION OF TIl\/[E

 

For good cause Shown the Third-Party Defendant Ellerbe Becket, lnc. is granted an

additional twenty (20) days to plead to the third-party completinth C’-/MJ M’""/é"“£“‘@

` UNITED STATES DISTRICT JUDGE

?.h.|§ A@§alnent aa€ef§d an tea aeckeét)shaet ln complia£§e OR v
wm lime §§ ana/er ?9(@) FHLP on M é( l ge , /<_ %I F,Z/f
. UNITED STATES MAGISTRATE IUDGE
3 0 , 2005

 

K`\jmcqu\stun\Ellcrbee\pldjm - (PVA} Ordcr, Extcnsion`doc

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 103 in
case 2:04-CV-02353 Was distributed by faX, mail, or direct printing on
June 30, 2005 to the parties listed.

EssEE

 

Donald A. Donati

DONATI LAW FIRM, LLP
1545 Union Ave.

l\/lemphis7 TN 3 8104

Fred E. Jones

CITY ATTORNEY'S OFFICE-Memphis
125 N. Main Street

Ste. 314

l\/lemphis7 TN 38103

Robert B. RolWing

COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

l\/lemphis7 TN 38103

John McQuiston
EVANS & PETREE
1000 Ridgeway Loop Rd.
Ste. 200

l\/lemphis7 TN 38120

Robert L.J. Spence
SPENCEWALK, PLLC
One Commerce Square
Ste. 2200

l\/lemphis7 TN 38103

Carrie Clark Thomas
SPENCEWALK, PLLC
One Commerce Square
Ste. 2200

l\/lemphis7 TN 38103

Case 2:04-cV-02353-.]P|\/|-de Document 103 Filed 06/30/05 Page 3 of 3 Page|D 105

Heather Anne Kirksey

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

l\/lemphis7 TN 38103

Sara L. Hall

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

l\/lemphis7 TN 38103

William B. Ryan

DONATI LAW FIRM, LLP
1545 Union Ave.

l\/lemphis7 TN 3 8104

Honorable .l on McCalla
US DISTRICT COURT

